                Case 24-12337-KBO             Doc 26       Filed 10/15/24        Page 1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

TRUE VALUE COMPANY, L.L.C., et al.,                              Case No. 24-12337 (KBO)

                 Debtors.1                                       (Joint Administration Pending)


        NOTICE OF BANKRUPTCY FILING AND DEBTORS' PRESENTATION OF
        MOTIONS AND APPLICATIONS TO THE COURT FOR CONSIDERATION

        PLEASE TAKE NOTICE that on October 14, 2024, True Value Company, L.L.C. and

certain of its affiliates, as the debtors and debtors in possession in the above-captioned chapter 11

cases (collectively, the “Debtors” or the “Company”) each filed a voluntary petition for relief

under Title 11 of the United States Code (the "Bankruptcy Code") with the United States

Bankruptcy Court for the District of Delaware (the "Bankruptcy Court").


        PLEASE TAKE FURTHER NOTICE that the Debtors have requested that the first day

hearing in these Chapter 11 Cases (the “First Day Hearing”) be held on a date to be announced,

to consider the following applications and motions:


        1.       Joint Administration: Motion of Debtors for Entry of an Order (I) Directing
                 Joint Administration of Cases; (II) Waiving the Requirements of Bankruptcy
                 Rules 1005 and 2002(n); and (III) Granting Related Relief [Docket No. 2]

        2.       Redact Personal Information: Motion of the Debtors for Entry of an Order (I)
                 Authorizing the Debtors to Redact Certain Personally Identifiable Information
                 and (II) Granting Related Relief [Docket No. 3]



1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
    numbers, are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C.
    (7025); TV GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386);
    True Value Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’
    corporate headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.


                                                       1
      Case 24-12337-KBO       Doc 26      Filed 10/15/24   Page 2 of 5




3.    Claims Agent: Application of the Debtors for Entry an Order (I) Appointing
      Omni Agent Solutions, Inc. as Claims and Noticing Agent to the Petition Date;
      and (II) Granting Related Relief [Docket No. 17]

4.    Taxes: Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
      Debtors to Pay Certain Prepetition Taxes and Related Obligations and (II)
      Granting Related Relief [Docket No. 6]

5.    Critical Vendors: Motion of Debtors for Entry of Interim and Final Orders
      (I) Authorizing the Debtors to Pay Certain Prepetition Claims of (A) Critical
      Vendors, (B) Foreign Vendors, and (C) Lien Claimants; and (II) Granting
      Related Relief [Docket No. 7]

6.    Customer Programs: Motion of Debtors for Entry of Interim and Final Orders
      (I) Authorizing the Debtors to Honor Certain Prepetition Obligations to
      Customers and Continue Certain Customer Programs in the Ordinary Course of
      Business; and (II) Granting Related Relief [Docket No. 8]

7.    Utilities: Motion of Debtors for Entry of Interim and Final Orders (I) (A)
      Approving Debtors’ Proposed Form of Adequate Assurance of Payment; (B)
      Establishing Procedures for Resolving Objections by Utility Companies; and (C)
      Prohibiting Utility Companies from Altering, Refusing, or Discontinuing Service
      and (II) Granting Related Relief [Docket No. 11]

8.    Insurance: Motion of Debtors for Entry of Interim and Final Orders (I)
      Authorizing Debtors to (A) Maintain Existing Insurance Programs, (B) Continue
      to Honor Insurance Program Obligations; and (C) Renew, Revise, Extend,
      Supplement, Change, or Enter Into New Coverage and Financing Agreements,
      (II) Authorizing Debtors to Modify the Automatic Stay for Claims Under the
      Workers’ Compensation Program, and (III) Granting Related Relief
      [Docket No. 5]

9.    Employee Wage and Benefits: Motion of Debtors for Entry of Interim and Final
      Orders (I) Authorizing Debtors to (A) Pay Certain Prepetition Employee
      Obligations and (B) Continue Employee Benefits Programs and (II) Granting
      Related Relief [Docket No. 9]

10.   Cash Management: Motion of Debtors for Entry of Interim and Final Orders
      (I) Authorizing the Debtors to (A) Continue Use of Existing Cash Management
      System, Bank Accounts, and Business Forms and (B) Implement Changes to Their
      Cash Management System in the Ordinary Course of Business; (II) Modifying
      Certain Requirements of Section 345(B) of the Bankruptcy Code; (III) Authorizing
      Continuance of Intercompany Transactions; (IV) Honoring Certain Related
      Prepetition Obligations; and (V) Granting Related Relief [Docket No. 10]




                                      2
                 Case 24-12337-KBO               Doc 26       Filed 10/15/24        Page 3 of 5




         11.      Cash Collateral: Motion of Debtors for Entry of Interim and Final Orders (I) (A)
                  Authorizing the Debtors to Obtain Postpetition Financing; (B) Authorizing the
                  Debtors to Use Cash Collateral; (C) Granting Adequate Protection to Prepetition
                  Lenders; (D) Modifying the Automatic Stay; and (E) Scheduling a Final Hearing
                  and (II) Granting Related Relief [Docket No. 19]

                  Related Documents:

                  a.       Declaration In Support: Declaration of Kunal S. Kamlani in Support of
                           Motion of Debtors for Entry of Interim and Final Orders (I) (A)
                           Authorizing Debtors to Use Cash Collateral; (B) Granting Adequate
                           Protection to Prepetition Lenders; (C) Modifying the Automatic Stay; and
                           (D) Scheduling a Final Hearing and (II) Granting Related Relief
                           [Docket No. 20]

                  PLEASE TAKE FURTHER NOTICE that when the Debtors are notified of the

date and time of the First Day Hearing, the Debtors will provide such information to the parties

served with this notice.2


                  PLEASE TAKE FURTHER NOTICE that in addition to the documents listed

above, the Debtors also have filed with the Bankruptcy Court the following:


                  1. First Day Declaration: Declaration of Kunal S. Kamlani in Support of Chapter
                     11 Petitions and First Day Papers [Docket No. 18]

                  2. Bidding Procedures Motion: Motion Of Debtors For Entry Of An Order (I)
                     Establishing Bidding, Noticing, And Assumption And Assignment Procedures,
                     (II) Approving The Sale Of Substantially All Of The Debtors Assets, And (III)
                     Granting Related Relief [Docket No. 12]

                  3. Declaration in Support of Bidding Procedures: Declaration Of William H.
                     Hardie III In Support Of Motion Of Debtors For Entry Of An Order (I)
                     Establishing Bidding, Noticing, And Assumption And Assignment Procedures,
                     (II) Approving The Sale Of Substantially All Of The Debtors Assets, And (III)
                     Granting Related Relief [Docket No. 13]




2
  The Debtors will file a First Day Agenda listing those matters that are scheduled to be heard. Once filed, a copy of
the First Day Agenda may be obtained through PACER on the Bankruptcy Court's website (login and password
required) or free-of-charge from https://omniagentsolutions.com/TrueValue.


                                                          3
               Case 24-12337-KBO         Doc 26     Filed 10/15/24   Page 4 of 5




                PLEASE TAKE FURTHER NOTICE that copies of the above referenced

documents may be obtained free-of-charge at https://omniagentsolutions.com/TrueValue.


                PLEASE TAKE FURTHER NOTICE that documents are also immediately

available through PACER on the Bankruptcy Court's website (login and password required).


                PLEASE TAKE FURTHER NOTICE that you can direct your questions

regarding the above referenced documents or any other matter to the Debtors’ dedicated case

information line, (866) 771-0561 for domestic and Canadian callers, and (818) 356-8633 for

other international callers.




                           [Remainder of Page Intentionally Left Blank]




                                                4
                 Case 24-12337-KBO   Doc 26    Filed 10/15/24     Page 5 of 5




Dated: October 15, 2024
       Wilmington, Delaware
                                 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                 /s/ Joseph O. Larkin
                                 Joseph O. Larkin (ID No. 4883)
                                 One Rodney Square
                                 920 N. King Street
                                 Wilmington, Delaware 19801
                                 Telephone: (302) 651-3000
                                 Joseph.Larkin@skadden.com

                                 - and -

                                 Ron E. Meisler (pro hac vice admission pending)
                                 Jennifer Madden (pro hac vice admission pending)
                                 320 South Canal Street
                                 Chicago, Illinois 60606
                                 Telephone: (312) 407-0705
                                 Ron.Meisler@skadden.com
                                 Jennifer.Madden@skadden.com

                                 - and –

                                 Robert D. Drain (pro hac vice admission pending)
                                 Evan A. Hill (pro hac vice admission pending)
                                 Moshe S. Jacob (pro hac vice admission pending)
                                 One Manhattan West
                                 New York, New York 10001
                                 Telephone: (212) 735-3000
                                 Robert.Drain@skadden.com
                                 Evan.Hill@skadden.com
                                 Moshe.Jacob@skadden.com


                                 Proposed Counsel to Debtors and Debtors in Possession




                                           5
1363170-NYCSR01A - MSW
